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FILED

Jan 14 2020

CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT] gy DEPUTY
SOUTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, Case No. JOU Olle _-MS6
Plaintiff, INFORMATION
“ Title 42, U.S.C., Sec. 1307(a) —
ANGELA RENEE JACKSON, Social Security Fraud (Misdemeanor)
Defendant.

 

 

 

The United States Attorney charges:
Count 1

On or about February 8, 2018, within the Southern District of
California, defendant ANGELA RENEE JACKSON, with the intent to defraud,
made and caused to be made representations with respect to the
requirements of the Social Security Act (Title 42, United States Code,
Chapter 7) and the rules and regulations issued thereunder, knowing such
representations to be false - that is, Defendant knowingly represented
to the Social Security Administration on Representative Payee Report
Form SSA-6230 that K.&S. had lived with Defendant from September 13, 2017
through March 1, 2018, when in truth and in fact, as Defendant then knew,
K.S. had never lived with Defendant during that pericd, all in violation
of Title 42, United States Code, Section 1307 (a).

“DATED: January 14, 2020.
ROBERT S. BREWER, JR.

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Jeffrey ¥ &,
Special Assistant U.S. Attorney

 

 

 

 
